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                              IN THE UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MISSOURI
                                        EASTERN DIVISION

     ARCHDIOCESE OF ST. LOUIS,                            )
     a Non-Profit Corporation                             )
                                                          )
                     Plaintiff,                           )
                                                          )            Cause No. 4:20-cv-01476-SNLJ
     vs.                                                  )
                                                          )
     UKG,INC.,                                            )
                                                          )
                     Defendant.                           )

                                  JOINT STIPULATION FOR DISMISSAL

             COME NOW, Plaintiff Archdiocese of St. Louis and Defendant UKG, Inc. f/k/a Ultimate

     Software Group, Inc. , and, pursuant to Federal Rule of Civil Procedure 4l(a)(l)(A)(ii), hereby

     stipulate to the dismissal of this action with prejudice, with each party to bear its own costs.



    Dated: December 6, 2021

    Respectfully submitted,

    By: Isl Aleiandro Frank (with consent)                    By: Isl Kevin M Cushing
    LEWIS BRISBOIS BISGAARD & SMITH                           CARMODY MACDONALD P.C.
    Alejandro Frank, 68077MO                                  Gerard T. Carmody, 24769MO
    100 S. 4th Street, Suite 500                              Kevin M. Cushing, 27930MO
    St. Louis, MO 63102                                       Meghan M. Lamping, 59987MO
    Tel: 314-685-8359                                         Ryan M. Prsha, 70307MO
    Fax: 314-684-8347                                         120 S. Central Avenue, Suite 1800
    Alejandro.Frank@lewisbrisbois.com                         St. Louis, MO 63105
    Attorneys for Defendant UKG Inc. f/k/a                    Tel: 314-854-8600
    Ultimate Software Group, Inc.                             Fax: 314-854-8660
                                                              kmc@carmodymacdonald.com
                                                              mml@carmodymacdonald.com
                                                              rmp@carmodymacdonald.com
                                                              Attorneys for PlaintiffArchdiocese ofSt. Louis

IT IS HEREBY ORDERED this 7th day of December, 2021




STEPHEN N. LIMBAUGH, JR.      /
SENIOR UNITED STATES DISTRICT JUDGE
